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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

STANLEY BOIM, Individually and as Administrator           )
of the Estate of David Boim, deceased; and JOYCE          )
BOIM,                                                     )
                                                          )
         Plaintiffs,                                      )
                                                          )
v.                                                        )
                                                          )
QURANIC LITERACY INSTITUTE, HOLY LAND                         Civil No. 00-cv-2905
                                                          )
FOUNDATION FOR RELIEF AND                                 )
DEVELOPMENT, ISLAMIC ASSOCIATION FOR                      )
PALESTINE, AMERICAN MUSLIM SOCIETY,                       )
AMERICAN MIDDLE EASTERN LEAGUE FOR                        )
PALESTINE, UNITED ASSOCIATION FOR                         )
STUDIES AND RESEARCH, MOHAMMED                            )
ABDUL HAMID KHALIL SALAH, MOUSA                           )
MOHAMMED ABU MARZOOK, AMJAD                               )
HINAWI, and THE ESTATE OF KHALIL TAWFIQ                   )
AL-SHARIF,                                                )
                                                          )
Defendants.

                                         Revived Judgment Order

         This cause coming to be heard upon plaintiffs’ Petition to Revive a Judgment, proper

notice having been given, the Court being fully apprised of the premises, and due cause

appearing, it is hereby ORDERED that:


         1.      The judgment of this Court entered in favor of plaintiffs Stanley Boim and Joyce

Boim on December 8, 2004 in the amount of $156,000,000 (Dkt. No. 668), and amended on

February 18 and 25, 2005 (Dkt. Nos. 690, 692), is hereby revived pursuant to 735 ILCS 5/2-1602

as to defendants Islamic Association for Palestine (“IAP”) and American Muslim Society

(“AMS”).



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       2.      The plaintiffs may recover interest and court costs from the date of the original

judgment, December 8, 2004. Credits to the judgment for amounts previously paid shall be

reflected by the plaintiff in supplemental proceedings or execution.




Dated: 1 0 / 1 3 / 2 0 2 2


                                                     United States District Court Judge
